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       LOAD FORECAST AND ILLUSTRATIVE CASH FLOW FOR NEW BONDS
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                                 Actual / Estimated        Budget/Estimate                                                             LT Forecast
                                     FY2022A                  FY2023B                 FY2024B               FY2025B          FY2026F                 FY2027F
Sales kWh                              16,492,156,009          16,510,368,616          16,212,070,800       15,221,620,609   14,752,137,621          14,325,347,785

                                                LT Forecast
                                      FY2028F                  FY2029F                FY2030F               FY2031F          FY2032F                 FY2033F
Sales kWh                              13,929,151,705          13,530,173,390          13,204,247,697       12,895,512,738   12,553,285,612          12,058,918,130

                                                LT Forecast
                                      FY2034F                  FY2035F                FY2036F               FY2037F          FY2038F                 FY2039F
Sales kWh                              11,680,286,693          11,337,367,891          10,960,421,433       10,603,386,563   10,332,277,158           9,927,890,757



                                      FY2040F                  FY2041F                FY2042F               FY2043F          FY2044F                 FY2045F
Sales kWh                               9,531,718,884           9,398,271,743           9,219,220,360        9,033,590,651    8,867,965,130           8,723,743,018

                                                LT Forecast
                                      FY2046F                  FY2047F                FY2048F               FY2049F          FY2050F                 FY2051F
Sales kWh                               8,579,213,803           8,445,723,370           8,308,424,680        8,191,668,127    8,073,605,930           7,958,523,871

Souce ‐ Final FP Model 2022   *For FY2051 to FY2058 the Plan assumes the load projections remain the same
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                    Expected Cash Flow for New Bonds Based on Load Forecast

                                         Series A Bonds: Expected Cash Flows
    FY                    Beginning                                        6.000%                   Debt
  (7/1)      #             Principal              Principal                 Interest              Service
  Total                                       650,069,869             112,597,686            762,667,555
  Expected Weighted Average Life                       2.89
  2023
  2024       1          650,069,869           139,282,338              39,004,192            178,286,530
  2025       2          510,787,531           134,434,574              30,647,252            165,081,826
  2026       3          376,352,957           136,723,044              22,581,177            159,304,221
  2027       4          239,629,913           139,842,087              14,377,795            154,219,882
  2028       5           99,787,826             99,787,826               5,987,270           105,775,096
  2029       6                      -                      -                       -                    -
  2030       7                      -                      -                       -                    -
  2031       8                      -                      -                       -                    -
  2032       9                      -                      -                       -                    -
  2033      10                      -                      -                       -                    -
  2034      11                      -                      -                       -                    -
  2035      12                      -                      -                       -                    -
  2036      13                      -                      -                       -                    -
  2037      14                      -                      -                       -                    -
  2038      15                      -                      -                       -                    -
  2039      16                      -                      -                       -                    -
  2040      17                      -                      -                       -                    -
  2041      18                      -                      -                       -                    -
  2042      19                      -                      -                       -                    -
  2043      20                      -                      -                       -                    -
  2044      21                      -                      -                       -                    -
  2045      22                      -                      -                       -                    -
  2046      23                      -                      -                       -                    -
  2047      24                      -                      -                       -                    -
  2048      25                      -                      -                       -                    -
  2049      26                      -                      -                       -                    -
  2050      27                      -                      -                       -                    -
  2051      28                      -                      -                       -                    -
  2052      29                      -                      -                       -                    -
  2053      30                      -                      -                       -                    -
  2054      31                      -                      -                       -                    -
  2055      32                      -                      -                       -                    -
  2056      33                      -                      -                       -                    -
  2057      34                      -                      -                       -                    -
  2058      35                      -                      -                       -                    -
*Expected Cash Flows are based upon the rate structure and the 2022 Fiscal Plan Load Projections. Actual cash
flows for the New Bonds may be faster or slower depending on future economic performance of the rate structure
until the repayment of the New Bonds. If revenues are higher than projected, the principal would be redeemed
sooner; if revenues are lower than projected, the principal would be redeemed later. Assumes the Effective Date of
the Plan occurs July 1, 2023; if the Effective Date is a different date, the values in the above schedule will adjust
accordingly. Assumes 1 year of interest accrual payable (for purposes of illustration only) in additional Series A
Bonds that are being issued to the Fuel Line Lenders in accordance with the Fuel Line Lender PSA.
                                    Series B-1 Bonds (CIBs): Expected Cash Flows
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    FY                    Beginning                                        6.000%                   Debt
  (7/1)      #             Principal             Principal                 Interest               Service
  Total                                     4,633,295,712           6,064,444,233         10,697,739,945
  Expected Weighted Average Life                     21.81
  2023
  2024       1       4,633,295,712                         -          277,997,743            277,997,743
  2025       2       4,633,295,712                         -          277,997,743            277,997,743
  2026       3       4,633,295,712                         -          277,997,743            277,997,743
  2027       4       4,633,295,712                         -          277,997,743            277,997,743
  2028       5       4,633,295,712             43,209,140             277,997,743            321,206,882
  2029       6       4,590,086,572            108,661,992             275,405,194            384,067,186
  2030       7       4,481,424,580            110,971,849             268,885,475            379,857,324
  2031       8       4,370,452,731            113,612,428             262,227,164            375,839,591
  2032       9       4,256,840,303            115,810,930             255,410,418            371,221,348
  2033      10       4,141,029,374            115,758,445             248,461,762            364,220,207
  2034      11       4,025,270,929            117,351,954             241,516,256            358,868,209
  2035      12       3,907,918,975            119,483,148             234,475,139            353,958,287
  2036      13       3,788,435,827            121,109,790             227,306,150            348,415,940
  2037      14       3,667,326,037            123,032,985             220,039,562            343,072,548
  2038      15       3,544,293,051            125,977,782             212,657,583            338,635,365
  2039      16       3,418,315,269            127,409,043             205,098,916            332,507,959
  2040      17       3,290,906,227            129,073,075             197,454,374            326,527,448
  2041      18       3,161,833,152            134,816,656             189,709,989            324,526,645
  2042      19       3,027,016,496            140,206,450             181,620,990            321,827,440
  2043      20       2,886,810,046            145,907,044             173,208,603            319,115,646
  2044      21       2,740,903,003            152,247,289             164,454,180            316,701,470
  2045      22       2,588,655,713            159,246,368             155,319,343            314,565,711
  2046      23       2,429,409,345            166,699,165             145,764,561            312,463,725
  2047      24       2,262,710,180            174,814,271             135,762,611            310,576,882
  2048      25       2,087,895,910            183,395,332             125,273,755            308,669,086
  2049      26       1,904,500,578            192,746,471             114,270,035            307,016,505
  2050      27       1,711,754,107            202,673,642             102,705,246            305,378,889
  2051      28       1,509,080,465            212,639,959              90,544,828            303,184,787
  2052      29       1,296,440,506            225,398,356              77,786,430            303,184,787
  2053      30       1,071,042,150            238,922,258              64,262,529            303,184,787
  2054      31         832,119,892            253,257,593              49,927,194            303,184,787
  2055      32         578,862,299            268,453,049              34,731,738            303,184,787
  2056      33         310,409,250            284,560,232              18,624,555            303,184,787
  2057      34           25,849,019            25,849,019                1,550,941            27,399,960
  2058      35                      -                      -                      -                     -
*Expected Cash Flows are based upon the rate structure and the 2022 Fiscal Plan Load Projections. Actual cash
flows for the New Bonds may be faster or slower depending on future economic performance of the rate structure
until the repayment of the New Bonds. If revenues are higher than projected, the principal would be redeemed
sooner; if revenues are lower than projected, the principal would be redeemed later; Assumes the Effective Date of
the Plan occurs July 1, 2023; if the Effective Date is a different date, the values in the above schedule will adjust
accordingly.




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                                                 Series B-2 Bonds (CCABs): Expected Cash Flows
  FY                 Beginning           Initial       Beginning        Maturity        Accreted          6.750%              Debt
(7/1)     #        Initial Value         Value        Mat. Value           Value            Price         Interest         Service
Total                              400,001,449                       557,470,000                    1,110,261,274    1,667,731,274
Expected Weighted Average Life           34.51
2023               400,001,449                 -     557,470,000               -           71.753               -               -
2024      1        400,001,449                 -     557,470,000               -           76.678               -               -
2025      2        400,001,449                 -     557,470,000               -           81.942               -               -
2026      3        400,001,449                 -     557,470,000               -           87.566               -               -
2027      4        400,001,449                 -     557,470,000               -           93.576               -               -
2028      5        400,001,449                 -     557,470,000               -         100.000                -               -
2029      6        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2030      7        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2031      8        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2032      9        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2033     10        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2034     11        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2035     12        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2036     13        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2037     14        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2038     15        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2039     16        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2040     17        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2041     18        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2042     19        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2043     20        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2044     21        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2045     22        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2046     23        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2047     24        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2048     25        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2049     26        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2050     27        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2051     28        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2052     29        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2053     30        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2054     31        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2055     32        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2056     33        400,001,449                 -     557,470,000               -         100.000       37,629,225      37,629,225
2057     34        400,001,449     197,883,887       557,470,000     275,784,827         100.000       37,629,225     313,414,052
2058     35        202,117,562     202,117,562       281,685,173     281,685,173         100.000       19,013,749     300,698,922
            *Expected Cash Flows are based upon the rate structure and the 2022 Fiscal Plan Load
            Projections. Actual cash flows for the New Bonds may be faster or slower depending on future
            economic performance of the rate structure until the repayment of the New Bonds. If revenues
            are higher than projected, the principal would be redeemed sooner; if revenues are lower than
            projected, the principal would be redeemed later. Assumes the Effective Date of the Plan occurs




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             July 1, 2023; if the Effective Date is a different date, the values in the above schedule will adjust
             accordingly.

                                              Both Series A and Series B Revenue Bonds: Expected Cash Flows
  FY                    Beginning          Initial Value             Beginning             Mat. Value                                       Debt
(7/1)     #          Initial Value           & CIB Par              Mat. Value              & CIB Par                Interest            Service
Total                                   5,683,367,030                                   5,840,835,581         7,287,303,193       13,128,138,774
Expected Weighted Average Life                     20.54
2023               5,683,367,030                                5,840,835,581
2024      1        5,683,367,030           139,282,338          5,840,835,581             139,282,338           317,001,935          456,284,273
2025      2        5,544,084,692           134,434,574          5,701,553,243             134,434,574           308,644,995          443,079,569
2026      3        5,409,650,118           136,723,044          5,567,118,669             136,723,044           300,578,920          437,301,964
2027      4        5,272,927,074           139,842,087          5,430,395,625             139,842,087           292,375,538          432,217,624
2028      5        5,133,084,988           142,996,966          5,290,553,538             142,996,966           283,985,012          426,981,978
2029      6        4,990,088,021           108,661,992          5,147,556,572             108,661,992           313,034,419          421,696,411
2030      7        4,881,426,029           110,971,849          5,038,894,580             110,971,849           306,514,700          417,486,549
2031      8        4,770,454,180           113,612,428          4,927,922,731             113,612,428           299,856,389          413,468,816
2032      9        4,656,841,752           115,810,930          4,814,310,303             115,810,930           293,039,643          408,850,573
2033     10        4,541,030,823           115,758,445          4,698,499,374             115,758,445           286,090,987          401,849,432
2034     11        4,425,272,378           117,351,954          4,582,740,929             117,351,954           279,145,481          396,497,434
2035     12        4,307,920,424           119,483,148          4,465,388,975             119,483,148           272,104,364          391,587,512
2036     13        4,188,437,276           121,109,790          4,345,905,827             121,109,790           264,935,375          386,045,165
2037     14        4,067,327,486           123,032,985          4,224,796,037             123,032,985           257,668,787          380,701,773
2038     15        3,944,294,500           125,977,782          4,101,763,051             125,977,782           250,286,808          376,264,590
2039     16        3,818,316,718           127,409,043          3,975,785,269             127,409,043           242,728,141          370,137,184
2040     17        3,690,907,676           129,073,075          3,848,376,227             129,073,075           235,083,599          364,156,673
2041     18        3,561,834,601           134,816,656          3,719,303,152             134,816,656           227,339,214          362,155,870
2042     19        3,427,017,946           140,206,450          3,584,486,496             140,206,450           219,250,215          359,456,665
2043     20        3,286,811,495           145,907,044          3,444,280,046             145,907,044           210,837,828          356,744,871
2044     21        3,140,904,452           152,247,289          3,298,373,003             152,247,289           202,083,405          354,330,695
2045     22        2,988,657,162           159,246,368          3,146,125,713             159,246,368           192,948,568          352,194,936
2046     23        2,829,410,794           166,699,165          2,986,879,345             166,699,165           183,393,786          350,092,950
2047     24        2,662,711,630           174,814,271          2,820,180,180             174,814,271           173,391,836          348,206,107
2048     25        2,487,897,359           183,395,332          2,645,365,910             183,395,332           162,902,980          346,298,311
2049     26        2,304,502,027           192,746,471          2,461,970,578             192,746,471           151,899,260          344,645,730
2050     27        2,111,755,556           202,673,642          2,269,224,107             202,673,642           140,334,471          343,008,114
2051     28        1,909,081,914           212,639,959          2,066,550,465             212,639,959           128,174,053          340,814,012
2052     29        1,696,441,955           225,398,356          1,853,910,506             225,398,356           115,415,655          340,814,012
2053     30        1,471,043,599           238,922,258          1,628,512,150             238,922,258           101,891,754          340,814,012
2054     31        1,232,121,341           253,257,593          1,389,589,892             253,257,593            87,556,419          340,814,012
2055     32          978,863,748           268,453,049          1,136,332,299             268,453,049            72,360,963          340,814,012
2056     33          710,410,699           284,560,232            867,879,250             284,560,232            56,253,780          340,814,012
2057     34          425,850,468           223,732,906            583,319,019             301,633,846            39,180,166          340,814,012
2058     35          202,117,562           202,117,562            281,685,173             281,685,173            19,013,749          300,698,922
            *Expected Cash Flows are based upon the rate structure and the 2022 Fiscal Plan Load Projections. Actual cash
            flows for the New Bonds may be faster or slower depending on future economic performance of the rate structure
            until the repayment of the New Bonds. If revenues are higher than projected, the principal would be redeemed
            sooner; if revenues are lower than projected, the principal would be redeemed later. Assumes the Effective Date of
            the Plan occurs July 1, 2023; if the Effective Date is a different date, the values in the above schedule will adjust
            accordingly.



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                                           Illustrative Settling Bondholder Cash Flow
Assumed Holdings
Recovery Category                                                     Accepting Bondholder
Illustrative Holder Amount of Claim (1)                                             100,000
Total Claims in Recovery Category                                             7,640,371,417
Recovery in Bond Consideration
                                                                                                  Consideration for
                                                                                                Recovery Category      Illustrative
                           Type                                                     Coupon        if 100% accept (1)    Holder (2)
Series A Bonds             Current Interest Bond                                     6.000%                      -             -
Series B-1 Bonds           Current Interest Bond                                     6.000%            3,820,185,709        50,000
Series B-2 Bonds           Convertible Capital Appreciation Bond                     6.750%                      -             -
Aggregate Bonds                                                                                        3,820,185,709        50,000
CVI (Lifetime Cap)                                                                                              N/A           N/A
Cash Flows for Illustrative Holder (3)
                                                   Series B-1 Bonds
        Fiscal                                                                    Aggregate
         Year          #              Principal            Interest      Principal & Interest
         Total                           50,000             65,444                  115,444
        7/1/23
        7/1/24         1                    -                3,000                     3,000
        7/1/25         2                    -                3,000                     3,000
        7/1/26         3                    -                3,000                     3,000
        7/1/27         4                    -                3,000                     3,000
        7/1/28         5                    466              3,000                     3,466
        7/1/29         6                  1,173              2,972                     4,145
        7/1/30         7                  1,198              2,902                     4,099
        7/1/31         8                  1,226              2,830                     4,056
        7/1/32         9                  1,250              2,756                     4,006
        7/1/33        10                  1,249              2,681                     3,930
        7/1/34        11                  1,266              2,606                     3,873
        7/1/35        12                  1,289              2,530                     3,820
        7/1/36        13                  1,307              2,453                     3,760
        7/1/37        14                  1,328              2,375                     3,702
        7/1/38        15                  1,359              2,295                     3,654
        7/1/39        16                  1,375              2,213                     3,588
        7/1/40        17                  1,393              2,131                     3,524
        7/1/41        18                  1,455              2,047                     3,502
        7/1/42        19                  1,513              1,960                     3,473
        7/1/43        20                  1,575              1,869                     3,444
        7/1/44        21                  1,643              1,775                     3,418
        7/1/45        22                  1,718              1,676                     3,395
        7/1/46        23                  1,799              1,573                     3,372
        7/1/47        24                  1,887              1,465                     3,352
        7/1/48        25                  1,979              1,352                     3,331
        7/1/49        26                  2,080              1,233                     3,313
        7/1/50        27                  2,187              1,108                     3,295
        7/1/51        28                  2,295                977                     3,272
        7/1/52        29                  2,432                839                     3,272
        7/1/53        30                  2,578                693                     3,272
        7/1/54        31                  2,733                539                     3,272
        7/1/55        32                  2,897                375                     3,272
        7/1/56        33                  3,071                201                     3,272
        7/1/57        34                    279                 17                       296
        7/1/58        35                    -                  -                         -
        7/1/59        36                    -                  -                         -
Note: Distributions are for illustrative purposes only and do not take into account dollar-denominations
(1) Represents Initial Value of Convertible Capital Appreciation Bonds and par value of Current Interest Bonds
(2) Reflects recovery to an illustrative holder of $100,000 of claim in the Recovery Category
(3) Cash Flows reflect expected cash flows per the 2022 Fiscal Plan; if revenues are higher than expected, principal will be repaid sooner then
schedule; if revenues are lower than expected, principal will be repaid later than schedule; Cash Flows do not include potential payments on
account of CVI; assumes consummation date of 7/1/2023




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                                                  Illustrative Fuel Line Loan Cash Flow
Assumed Holdings
Recovery Category                                                       Fuel Line Lenders
Illustrative Holder Amount of Claim (1)                                           100,000
Total Claims in Recovery Category                                             700,887,094
Recovery in Bond Consideration
                                                                                              Consideration
                                                                                               for Recovery          Illustrative
                           Type                                                   Coupon        Category (1)          Holder (2)
Series A Bonds             Current Interest Bond                                   6.000%       588,745,159              84,000
Series B-1 Bonds           Current Interest Bond                                   6.000%               -                    -
Series B-2 Bonds           Convertible Capital Appreciation Bond                   6.750%               -                    -
Aggregate Bonds                                                                                 588,745,159               84,000
CVI (Lifetime Cap)                                                                                     N/A                  N/A
Cash Flows for Illustrative Holder (3)
                                                     Series A Bonds
        Fiscal                                                                  Aggregate
         Year          #              Principal             Interest   Principal & Interest
         Total                           84,000              14,550                98,550
        7/1/24         1                 17,998               5,040                23,038
        7/1/25         2                 17,371               3,960                21,331
        7/1/26         3                 17,667               2,918                20,585
        7/1/27         4                 18,070               1,858                19,928
        7/1/28         5                 12,894                 774                13,668
        7/1/29         6                    -                   -                     -
        7/1/30         7                    -                   -                     -
        7/1/31         8                    -                   -                     -
        7/1/32         9                    -                   -                     -
        7/1/33        10                    -                   -                     -
        7/1/34        11                    -                   -                     -
        7/1/35        12                    -                   -                     -
        7/1/36        13                    -                   -                     -
        7/1/37        14                    -                   -                     -
        7/1/38        15                    -                   -                     -
        7/1/39        16                    -                   -                     -
        7/1/40        17                    -                   -                     -
        7/1/41        18                    -                   -                     -
        7/1/42        19                    -                   -                     -
        7/1/43        20                    -                   -                     -
        7/1/44        21                    -                   -                     -
        7/1/45        22                    -                   -                     -
        7/1/46        23                    -                   -                     -
        7/1/47        24                    -                   -                     -
        7/1/48        25                    -                   -                     -
        7/1/49        26                    -                   -                     -
        7/1/50        27                    -                   -                     -
        7/1/51        28                    -                   -                     -
        7/1/52        29                    -                   -                     -
        7/1/53        30                    -                   -                     -
        7/1/54        31                    -                   -                     -
        7/1/55        32                    -                   -                     -
        7/1/56        33                    -                   -                     -
        7/1/57        34                    -                   -                     -
        7/1/58        35                    -                   -                     -
        7/1/59        36                    -                   -                     -

Note: Distributions are for illustrative purposes only and do not take into account dollar-denominations
(1) Represents Initial Value of Convertible Capital Appreciation Bonds and par value of Current Interest Bonds
(2) Reflects recovery to an illustrative holder of $100,000 of claim in the Recovery Category
(3) Cash Flows reflect expected cash flows per the 2022 Fiscal Plan; if revenues are higher than expected, principal will be repaid sooner then
schedule; if revenues are lower than expected, principal will be repaid later than schedule; Cash Flows do not include potential payments on
account of CVI; assumes consummation date of 7/1/2023




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